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                                                U.S. Department of Justice
                                                                      United States Attorney
                                                                      District of Maryland
                                                                      Southern Division

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                                                                        June 20, 2014

Lavon Dobie
FMC Carswell
Federal Medical Center
PO Box 27137
Ft. Worth, TX 76127

           Re: US v. Paulette Martin, et al
               Criminal No. RWT-04-0235

Dear Ms. Dobie:

        Please be advised that case agent Stephen Snyder has reviewed the evidence which was
in storage. He was able to locate government Exhibit #9, which contained three watches and a
ring. He was also able to locate photographs seized from your residence. In addition, the
undeveloped film was developed and those photographs are also in the custody of Homeland
Security Investigations, formerly Immigration and Customs Enforcement.

       SA Snyder is prepared to release those items to your designee. Case agent Snyder may
be reached by email at Stephen.P.Snyder@ice.dhs.gov and by telephone at 443-801-0800.

                                                                 Very truly yours,

                                                                 Rod J. Rosenstein
                                                                 United States Attorney


                                                           By: ______/s/__________________
                                                               Deborah A. Johnston
                                                               Assistant United States Attorney
